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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

THOMAS LEMON                     :
1623 Linda Drive                 :
West Chester, PA 19380           :
                                 :                             CIVIL ACTION
               Plaintiff,        :
       v.                        :                             DOCKET NO.: OOJNOPV
                                 :
UNIVERSITY OF PENNSYLVANIA       :
HEALTH SYSTEM d/b/a THE TRUSTEES :                             JURY TRIAL DEMANDED
OF THE UNIVERSITY OF             :
PENNSYLVANIA                     :
800 Spruce Street                :
Philadelphia, PA 19107           :
       and                       :
PENN MEDICINE                    :
800 Spruce Street                :
Philadelphia, PA 19107           :
                                 :
               Defendants        :
                                 :

                                                 COMPLAINT

        Plaintiff, Thomas Lemon (hereinafter referred to as “Plaintiff”), by and through his

undersigned counsel, hereby avers as follows:

                                               I.   Introduction

        1.        Plaintiff initiates the instant action to redress violations by Defendants of the

Family and Medical Leave Act (“FMLA” - 29 U.S.C. §§ 2601, et. seq.), the Americans with

Disabilities Act (“ADA”), the Pennsylvania Human Relations Act (“PHRA”), and the

Philadelphia Fair Practices Ordinance.1 Plaintiff asserts, inter alia, that he was unlawfully




1
  Plaintiff’s claims under the PHRA and the PFPO are referenced herein for notice purposes. He is required to wait 1
full year before initiating a lawsuit from date of dual-filing with the EEOC. Plaintiff must however file his lawsuit
in advance of same because of the date of issuance of his federal right-to-sue-letter under the ADA. Plaintiff’s
PHRA and PFPO claims however will mirror identically his federal claims under the ADA.
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terminated from Defendants. As a direct consequence of Defendants’ unlawful actions, Plaintiff

seeks damages as set forth herein.

                                    II.   Jurisdiction and Venue

        2.      This action is initiated pursuant to a federal law. The United States District Court

for the Eastern District of Pennsylvania has original subject matter jurisdiction over this action

pursuant to 28 U.S.C. § 1331 because the claims herein arise under a law of the United States.

        3.       This Court may properly maintain personal jurisdiction over Defendants because

their contacts with this state and this judicial district are sufficient for the exercise of jurisdiction

in order to comply with traditional notions of fair play and substantial justice, satisfying the

standard set forth by the United States Supreme Court in International Shoe Co. v. Washington,

326 U.S. 310 (1945) and its progeny.

        4.       Venue is properly laid in this District pursuant to 28 U.S.C. §§ 1391(b)(1) and

(b)(2), because Defendants reside in and/or conduct business in this judicial district and because

a substantial part of the acts and/or omissions giving rise to the claims set forth herein occurred

in this judicial district.

        5.       Plaintiff filed a Charge of discrimination and retaliation with the Equal

Employment Opportunity Commission ("EEOC") and also dual-filed said charge with the

Pennsylvania Human Relations Commission ("PHRC"). Plaintiff has properly exhausted his

administrative proceedings before initiating this action by timely filing and dual-filing his

Charge with the EEOC, and by filing the instant lawsuit within 90 days of receiving a right-to-

sue letter from the EEOC.




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                                           III.      Parties

        6.     The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        7.     Plaintiff is an adult individual, with an address as set forth in the caption.

        8.     Defendants own and operate various health care facilities.

        9.     Upon information and belief, because of their interrelation of operations, common

ownership or management, centralized control of labor relations, common ownership or financial

controls, and other factors, Defendants are sufficiently interrelated and integrated in their

activities, labor relations, ownership and management that they may be treated as a single and/or

joint employer for purposes of the instant action.

        10.    At all times relevant herein, Defendants acted by and through their agents,

servants and employees, each of whom acted at all times relevant herein in the course and scope

of their employment with and for Defendants.

                                   IV.     Factual Background

        11.    The foregoing paragraphs are incorporated here in their entirety as if set forth in

full.

        12.    Plaintiff was hired by Defendants on or about September 12, 2016, and generally

performed plumbing, maintenance and HVAC work for Defendants as a full-time employee.

        13.    Plaintiff worked at various facilities for Defendants, including but not limited to,

their main hospital at 3400 Spruce Street, the Perelman Center at 3400 Civic Center Blvd., and

the boiler plant down near the Philadelphia International Airport.

        14.    In the Spring of 2021, Plaintiff began having very severe health complications

and was ultimately diagnosed Type 1 Diabetes.



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       15.     Plaintiff’s condition was (and currently remains) life threatening as it substantially

limits a major life activity of endocrine functioning, and at times Plaintiff’s ability to work.2

       16.     In the months leading up to Plaintiff’s termination from employment (occurring

on or about November 1, 2021), he was receiving continual medical treatment, trying different

medications and therapy, and generally trying to get his health under control.

       17.     As of his termination, his physicians were still attempting to regulate the proper

dosage / type of medication(s) he needed; Plaintiff was wearing an insulin pump and also carried

additional insulin on himself to inject when medically necessary.



2
  In Blackard v. Livingston Parish Sewer Dist., 2014 U.S. Dist. LEXIS 5490 (M.D. La.
2014)(finding diabetes to "easily" meet the definition of the ADA, as amended), the court
explained:

       The ADA regulations indicate that, in light of the principles set forth in the
       Amendments, certain types of impairments will be found, in virtually all
       cases, to constitute a "disability" under the ADA. The regulations explain
       that, "[g]iven their inherent nature, these types of impairments will, as a
       factual matter, virtually always be found to impose a substantial limitation
       on a major life activity" and therefore should demand only a "simple and
       straightforward" assessment. For example, the regulations state that it
       "should easily be concluded" that:

       Deafness substantially limits hearing; blindness substantially limits seeing; an
       intellectual disability ... substantially limits brain function; partially or
       completely missing limbs or mobility impairments requiring the use of a
       wheelchair substantially limit musculoskeletal function; autism substantially
       limits brain function; cancer substantially limits normal cell growth; cerebral
       palsy substantially limits brain function; diabetes substantially limits
       endocrine function; epilepsy substantially limits neurological function;
       Human Immunodeficiency Virus (HIV) infection substantially limits immune
       function; multiple sclerosis substantially limits neurological function;
       muscular dystrophy substantially limits neurological function; [*11] and
       major depressive disorder, bipolar disorder, post-traumatic stress disorder,
       obsessive compulsive disorder, and schizophrenia substantially limit brain
       function....

See Id. at * 9. (emphasis added).

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       18.     Plaintiff’s direct manager was one Rick Savage (“Savage”), a manager of Plant

Operations who had recently been elevated from being a general electrician and supervisor.

       19.     Savage’s manager was one Francis (a/k/a Frank) Connelly, a Director of Physical

Plant and Assistant Executive Hospital Director.

       20.     Plaintiff made it overwhelming clear to his management that he was suffering

from a fast on-set and serious case of Diabetes.

       21.     Importantly, Plaintiff wanted to ensure that if something happened to him in the

workplace, that people knew why and that it was medical-related.

       22.     Additionally, Plaintiff needed to undergo ongoing therapy and treatment, which

may require time off from work.

       23.     On or about October 27, 2021, Plaintiff was getting very ill at work as a direct

result of his Diabetes.

       24.     Plaintiff went to a private place (in what can be referred to as a locker area) and

sat down to inject himself with medication; Plaintiff then fainted and became unconscious

because he could not inject himself promptly enough.

       25.     Savage, a grossly untrained and unprofessional manager, saw Plaintiff

unconscious (in what is properly referred to as a “Diabetic coma”); instead of calling for help,

getting Plaintiff immediate medical attention or doing anything that would exhibit a shred of

common human decency, Savage actually thought it was humorous and took pictures of Plaintiff

unconscious and with medication in his hand.

       26.     When Plaintiff regained consciousness, Plaintiff then saw Savage in his presence.




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       27.     Savage stated Plaintiff was sleeping on the job (while smirking), which Plaintiff

immediately found to be outrageous and offensive (as he was literally confused, dizzy and

suffering) and had made Savage aware of his current serious medical condition.

       28.     Plaintiff’s physician provided medical documentation to support that: (a) Plaintiff

had a hypoglycemic event; (b) Plaintiff’s own insulin monitor evidenced the hypoglycemic

event; and (c) Plaintiff needed to be medically excused from work on October 27, 2021 (despite

having worked the entire day) and October 28, 2021.

       29.     All of the aforesated information was shared with Defendants’ management prior

to November 1, 2021.

       30.     Plaintiff had a meeting earlier in the day with Savage and Connelly (expecting to

resume work in the evening as Plaintiff was a graveyard shift employee) on or about November

1, 2021 (after having not worked since this shift wherein he had a medical episode).

       31.     Savage and Connelly presented Plaintiff with a short-typed letter one or both of

them had prepared and telling Plaintiff to sign the resignation letter or be immediately

terminated.

       32.     Plaintiff was told if he didn’t sign the resignation letter, he would be immediately

terminated and Defendants would fight his unemployment and cancel his medical insurance

immediately.

       33.     Plaintiff was further told if he signed the resignation letter, he would at least get

another month of medical insurance, Defendants would not fight his unemployment, and he may

as well since he was being terminated no matter what.

       34.     Being caught so off guard and knowing he was terminated anyway; Plaintiff

signed the “resignation” letter they issued out of panic for desperately needing health insurance.



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         35.      Plaintiff was never offered leave under the Family and Medical Leave Act

(“FMLA”) despite notifying Defendants of ongoing health problems (since the summer of 2021),

a need to miss time from work at times, and for use of FMLA as to medical breaks during work.

See e.g. Myles v. Univ. of Pa. Health Sys., 2011 U.S. Dist. LEXIS 142342, at *20 (E.D. Pa.

2011)(denying summary judgment and explaining the failure of the University of Pennsylvania

Health System to properly designate medically needed breaks as FMLA would constitute

interference or retaliation).3

         36.      Though Plaintiff legally qualified for FMLA protections (having worked for more

than one (1) full year, and worked more than 1,250 hours in the time frame preceding his notice

of a qualifying need for leave), Plaintiff was unaware of his statutory rights under the FMLA,

and Defendants failed in every manner to abide by the FMLA.

         37.      Additionally, Plaintiff rarely ever took breaks (despite having such breaks

deducted from his payroll), and was entitled to varying breaks throughout his shift.




3
  It is well established that FMLA leave is permitted for whole days, partial days or medical-related breaks under the
FMLA. See e.g. Mora v. Chem-Tronics, Inc., 16 F.Supp.2d 1192 (S.D. Cal. 1998)(Employees may take leave in any
size increments and employers may account for the leave in the shortest period of time the payroll system uses to
calculate absences. 29 C.F.R. § 825.203(d)(final regulations).f See also Sabbrese v. Lowe's Home Centers, Inc., 320
F.Supp.2d 311 (W.D.Pa.2004)(explaining that an employer is prohibited from counting medically necessary breaks
against an employee under the FMLA)(emphasis added); See also Collins v. U.S. Playing Card Co., 466 F.Supp.2d
954 (S.D. Ohio 2006)(same). Intermittent medical leave is available for leaving early or coming in late. See supra;
See also Murphy v. Brown, 2010 WL 1292704 (N.D.Ill.,2010)(denying summary judgment on plaintiff's interference
claim because the FMLA is intended to cover small increments of leave including lateness of an employee, and there
was a factual question as to whether the employer counted lateness that should have been considered FMLA leave);
Hite v. Vermeer Mfg. Co., 446 F.3d 858 (8th Cir.2006)(affirming jury verdict that employee was terminated in
retaliation for exercising FMLA rights, including using intermittent FMLA leave to arrive 15 or 30 minutes late to
work); Agbejimi v. Advocate Health and Hospitals Corp., WL 2589129 (N.D.Ill.,2009)(summary judgment denied
because lateness is specifically covered by the FMLA and there was evidence the employer considered possibly
FMLA qualifying lateness in terminating plaintiff); Bosse v. Baltimore County, 692 F.Supp.2d 574
(D.Md.,2010)(denying summary judgment on plaintiff's interference claim wherein a jury could conclude lateness
that was FMLA qualifying may have been considered in the decision to terminate plaintiff); Scott v. Cintas Corp.,
WL 22048055 (N.D. Ill. 2003)(summary judgment denied where it appeared employer counted an FMLA qualifying
lateness of employee caring for another with a serious health condition).


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         38.      Any time Plaintiff utilized for a medical emergency could have easily been

construed as break time.4 Knowing Plaintiff’s break was for a medical emergency, Defendants’

management intentionally tried to avoid labelling Plaintiff’s separation a “termination,” though it

objectively was a termination/constructive discharge, a he resigned under outright threats as

outlined above.

                                               Count I
                   Violation(s) of the Family and Medical Leave Act (“FMLA”)
                                     (Interference & Retaliation)
                                      - Against All Defendants -

         45.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

         46.      Plaintiff worked for Defendants who were engaged in interstate commerce, and

Plaintiff worked 1, 250 hours and more than 1 year making him eligible for FMLA leave in

2021.

         47.      Plaintiff was not afforded proper notice of his right to take FMLA leave on an

intermittent basis during any point in 2021 after he made Defendants’ management aware of his

diagnosis, condition and need for treatment - which right to FMLA leave could have included

leave in small increments of time.5

         48.      Defendants’ failure to properly notify Plaintiff of his rights and responsibilities

prejudiced Plaintiff’s ability to take leave in 2021, and including up through his separation.




4
 Further, it is well established all over the United States that when an employee requires time off from work or
breaks for medical reasons, it can be a “reasonable accommodation.”
5
 FMLA leave may be taken in periods of whole weeks, single days, hours, and in some cases even less than an
hour. The employer must allow employees to use FMLA leave in the smallest increment of time the employer
allows for the use of other forms of leave, as long as it is no more than one hour.

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        49.    Plaintiff’s need for an FMLA-qualifying break for his medical condition

(including the need to take insulin and recuperate) was a direct consideration in Defendants’

decision to terminate his employment.

        50.    Defendants’ actions as aforesaid constitute interference and retaliation violations

of the FMLA, and also a hostile work environment and unlawful dissuasion.

                                           Count II
                 Violation(s) of the Americans with Disabilities Act (“ADA”)
                                  (Discrimination/Retaliation)

        51.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        52.    Plaintiff suffering from a qualifying disability, as that term is defined by the

ADA, as amended including Diabetes and any related medical conditions.

        53.    Plaintiff’s disability substantially limited various major life activities, including

but not limited to endocrine functioning and his ability to work at times.

        54.    Plaintiff put Defendants on notice of his need for a reasonable accommodation, in

the form of time off of work/breaks to treat his Diabetic condition.

        55.    Defendants failed to engage in any good faith interactive process, and instead

terminated Plaintiff in direct relation to his disability status (including his actual/record or

perceived     disabilities)   and    in    retaliation   for    pursuing     reasonable    medical

accommodations/objecting to mistreatment based upon his disability status/need for

accommodations.

        56.    Plaintiff suffered all of the foregoing adverse actions referenced in this Complaint

due to his actual and/or perceived health problems and/or in retaliation for him requesting

medical accommodations/objecting to discriminatory mistreatment.



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       WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

       A.      Defendants are to compensate Plaintiff, reimburse Plaintiff and make Plaintiff

whole for any and all pay and benefits Plaintiff would have received had it not been for

Defendants’ illegal actions, including but not limited to past lost earnings, future lost earnings

(including but not limited to stemming from lost potential business due to a mandated leave and

inability to stay in touch with clientele), salary, pay increases, bonuses, medical and other

benefits, training, promotions, pension, and seniority. Plaintiff should be accorded those benefits

illegally withheld from the date he first suffered retaliation/interference at the hands of

Defendants until the date of verdict. Plaintiff seeks reinstatement or all available damages in the

absence of reinstatement being permitted or deemed appropriate by the Court;

       B.      Plaintiff is to be awarded punitive or liquidated damages, as permitted by

applicable law;

       C.      Plaintiff is to be accorded any and all other equitable and legal relief as the Court

deems just, proper and appropriate (including but not limited to emotional distress damages

under the ADA);

       D.      Plaintiff is to be awarded the costs and expenses of this action and reasonable

legal fees as provided by applicable federal and state law;

       E.      Plaintiff’s claims are to receive trial by jury to the extent allowed by applicable

law. Plaintiff has also endorsed this demand on the caption of this Complaint in accordance with

Federal Rule of Civil Procedure 38(b).




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                                          Respectfully submitted,

                                          KARPF, KARPF & CERUTTI, P.C.


                                   By:                   ___________________
                                          Ari R. Karpf, Esq.
                                          Christine E. Burke, Esq.
                                          3331 Street Road
                                          Two Greenwood Square, Suite 128
                                          Bensalem, PA 19020
                                          (215) 639-0801
                                          Attorneys for Plaintiff
Dated: March 31, 2022




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                 PLPNLOMOO
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                                               UNITEDDocument  1 Filed
                                                     STATES DISTRICT    03/31/22 Page 13 of 14
                                                                     COURT
                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                           DESIGNATION FORM
                     (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

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Address of Plaintiff: ______________________________________________________________________________________________

                       UMM=péêìÅÉ=píêÉÉíI=mÜáä~ÇÉäéÜá~I=m^=NVNMT
Address of Defendant: ____________________________________________________________________________________________

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Place of Accident, Incident or Transaction: ___________________________________________________________________________



RELATED CASE, IF ANY:

Case Number: ______________________________                      Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No X
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No X
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                           Yes                    No X
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No X
       case filed by the same individual?

I certify that, to my knowledge, the within case              is / X is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

       PLPNLOMOO
DATE: __________________________________                      __________________________________________                               ARK2484 / 91538
                                                                                                                               ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                       B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                        1.    Insurance Contract and Other Contracts
       2.     FELA                                                                                2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                           3.    Assault, Defamation
       4.     Antitrust                                                                           4.    Marine Personal Injury
       5.     Patent                                                                              5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                          6.    Other Personal Injury (Please specify): _____________________
u      7.     Civil Rights                                                                        7.    Products Liability
       8.     Habeas Corpus                                                                       8.    Products Liability –Asbestos
       9.     Securities Act(s) Cases                                                             9.    All other Diversity Cases
       10.    Social Security Review Cases                                                              (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                           ARBITRATION CERTIFICATION
                                                   (

     Ari R. Karpf
I, ____________________________________________ , counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
     X
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


        PLPNLOMOO
DATE: __________________________________                      _____________________________________ _____                            ARK2484 / 91538
                                                                                                                              ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 ( /2018)
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JS 44 (Rev. 06/17)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                           DEFENDANTS
                                                                                                           rkfsbopfqv=lc=mbkkpvis^kf^=eb^iqe=pvpqbj=aL_L^
ibjlkI=qelj^p                                                                                              qeb=qorpqbbp=lc=qeb=rkfsbopfqv=lc=mbkkpvis^kf^I=
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    (b) County of Residence of First Listed Plaintiff                                                         County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
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II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                        III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintif                                   f
                                                                                                         (For Diversity Cases Only)                                            and One Box for Defendant)
❒ 1    U.S. Government               u’ 3     Federal Question                                                                     PTF           DEF                                           PTF      DEF
          Plaintiff                              (U.S. Government Not a Party)                      Citizen of This State          ’ 1           ’ 1    Incorporated or Principal Place         ’ 4     ’ 4
                                                                                                                                                            of Business In This State

❒ 2    U.S. Government                   ’ 4 Diversity                                              Citizen of Another State          ’ 2         ’ 2   Incorporated and Principal Place      ’ 5      ’ 5
          Defendant                             (Indicate Citizenship of Parties in Item III)                                                               of Business In Another State

                                                                                                    Citizen or Subject of a           ’ 3         ’ 3   Foreign Nation                        ’ 6      ’ 6
                                                                                                      Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                  Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                               TORTS                               FORFEITURE/PENALTY                            BANKRUPTCY                     OTHER STATUTES
❒   110 Insurance                         PERSONAL INJURY                 PERSONAL INJURY           ❒ 625 Drug Related Seizure              ’   422 Appeal 28 USC 158         ❒ 375 False Claims Act
❒   120 Marine                       ’    310 Airplane                  ❒ 365 Personal Injury -           of Property 21 USC 881            ’   423 Withdrawal                ’ 376 Qui Tam (31 USC
❒   130 Miller Act                   ’    315 Airplane Product                Product Liability     ❒ 690 Other                                     28 USC 157                       3729(a))
❒   140 Negotiable Instrument                  Liability                ❒ 367 Health Care/                                                                                   ❒ 400 State Reapportionment
❒   150 Recovery of Overpayment      ’    320 Assault, Libel &                Pharmaceutical                                                    PROPERTY RIGHTS              ❒ 410 Antitrust
        & Enforcement of Judgment              Slander                        Personal Injury                                               ❒ 820 Copyrights                 ❒ 430 Banks and Banking
❒   151 Medicare Act                 ’    330 Federal Employers’              Product Liability                                             ❒ 830 Patent                     ❒ 450 Commerce
❒   152 Recovery of Defaulted                  Liability                ❒ 368 Asbestos Personal                                             ❒ 835 Patent - Abbreviated       ❒ 460 Deportation
        Student Loans                ’    340 Marine                          Injury Product                                                       New Drug Application      ❒ 470 Racketeer Influenced and
        (Excludes Veterans)          ’    345 Marine Product                  Liability                                                     ❒ 840 Trademark                         Corrupt Organizations
❒   153 Recovery of Overpayment                Liability                 PERSONAL PROPERTY                       LABOR                         SOCIAL SECURITY               ❒ 480 Consumer Credit
        of Veteran’s Benefits        ’    350 Motor Vehicle             ❒ 370 Other Fraud           ❒ 710 Fair Labor Standards              ’ 861 HIA (1395ff)               ❒ 490 Cable/Sat TV
❒   160 Stockholders’ Suits          ’    355 Motor Vehicle             ❒ 371 Truth in Lending              Act                             ❒ 862 Black Lung (923)           ❒ 850 Securities/Commodities/
❒   190 Other Contract                        Product Liability         ❒ 380 Other Personal        ❒ 720 Labor/Management                  ’ 863 DIWC/DIWW (405(g))                 Exchange
❒   195 Contract Product Liability   ’    360 Other Personal                  Property Damage               Relations                       ❒ 864 SSID Title XVI             ❒ 890 Other Statutory Actions
❒   196 Franchise                             Injury                    ❒ 385 Property Damage       ❒ 740 Railway Labor Act                 ’ 865 RSI (405(g))               ❒ 891 Agricultural Acts
                                     ’    362 Personal Injury -               Product Liability      ’ 751 Family and Medical                                                ❒ 893 Environmental Matters
                                              Medical Malpractice                                           Leave Act                                                        ❒ 895 Freedom of Information
        REAL PROPERTY                       CIVIL RIGHTS                 PRISONER PETITIONS         ❒ 790 Other Labor Litigation              FEDERAL TAX SUITS                      Act
❒   210 Land Condemnation            ❒    440 Other Civil Rights          Habeas Corpus:            ❒ 791 Employee Retirement               ❒ 870 Taxes (U.S. Plaintiff      ❒ 896 Arbitration
❒   220 Foreclosure                  ❒    441 Voting                    ❒ 463 Alien Detainee               Income Security Act                     or Defendant)             ❒ 899 Administrative Procedure
❒   230 Rent Lease & Ejectment       ❒    442 Employment                ❒ 510 Motions to Vacate                                             ❒ 871 IRS—Third Party                   Act/Review or Appeal of
❒   240 Torts to Land                ❒    443 Housing/                        Sentence                                                             26 USC 7609                      Agency Decision
❒   245 Tort Product Liability                Accommodations            ❒ 530 General                                                                                        ❒ 950 Constitutionality of
❒   290 All Other Real Property      ❒
                                     u    445 Amer. w/Disabilities -    ❒ 535 Death Penalty               IMMIGRATION                                                               State Statutes
                                              Employment                  Other:                    ❒ 462 Naturalization Application
                                     ❒    446 Amer. w/Disabilities -    ❒ 540 Mandamus & Other      ❒ 465 Other Immigration
                                              Other                     ❒ 550 Civil Rights                Actions
                                     ❒    448 Education                 ❒ 555 Prison Condition
                                                                        ❒ 560 Civil Detainee -
                                                                              Conditions of
                                                                              Confinement

V. ORIGIN (Place an “X” in One Box Only)
u
’ 1 Original    ❒ 2 Removed from                            ❒    3     Remanded from            ❒ 4 Reinstated or       ’     5 Transferred from    ❒ 6 Multidistrict                  ❒ 8 Multidistrict
        Proceeding                State Court                          Appellate Court              Reopened                    Another District           Litigation -                    Litigation -
                                                                                                                            (specify)                      Transfer                        Direct File
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                      ^a^=EQOrp`NONMNFX=cji^=EOVrp`OSMNF
VI. CAUSE OF ACTION Brief description of cause:
                      sáçä~íáçåë=çÑ=íÜÉ=^a^I=cji^I=meo^=~åÇ=íÜÉ=mÜáä~ÇÉäéÜá~=c~áê=mê~ÅíáÅÉë=lêÇáå~åÅÉK
VII. REQUESTED IN     ❒ CHECK IF THIS IS A CLASS ACTION   DEMAND $                        CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                         JURY DEMAND:        u’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                                JUDGE                                  DOCKET NUMBER
DATE                                                                      SIGNATURE OF ATTORNEY OF RECORD
            PLPNLOMOO
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                      APPLYING IFP                                    JUDGE                              MAG. JUDGE

                  Print                                 Save As...                                                                                                                  Reset
